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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


COMPASS GROUP USA, INC.

               Plaintiff,                   Case No.:
     vs.
                                            COMPLAINT
AGRI STATS, INC.; CASE FARMS, LLC;
CASE FARMS PROCESSING, INC.; CASE
                                            Jury Trial Demanded
FOODS, INC.; FOSTER FARMS, LLC;
FOSTER POULTRY FARMS; NORMAN W.
FRIES, INC. d/b/a CLAXTON POULTRY
FARMS, INC.; HARRISON POULTRY,
INC.; HOUSE OF RAEFORD FARMS, INC.;
JCG FOODS OF ALABAMA, LLC; JCG
FOODS OF GEORGIA, LLC; KEYSTONE
FOODS; KOCH FOODS, INC.; KOCH
MEAT CO., INC.; MAR-JAC POULTRY,
INC.; MOUNTAIRE FARMS, INC.;
MOUNTAIRE FARMS, LLC; MOUNTAIRE
FARMS OF DELAWARE, INC.; O.K.
FOODS, INC.; O.K. FARMS, INC.; O.K.
INDUSTRIES, INC.; PERDUE FARMS,
INC.; PERDUE FOODS, LLC; PILGRIM’S
PRIDE CORPORATION; SANDERSON
FARMS, INC.; SANDERSON FARMS, INC.
(FOOD DIVISION); SANDERSON FARMS,
INC. (PRODUCTION DIVISION);
SANDERSON FARMS, INC. (PROCESSING
DIVISION); SIMMONS FOODS, INC.;
SIMMONS PREPARED FOOODS, INC.;
TYSON BREEDERS, INC.; TYSON
CHICKEN, INC.; TYSON FOODS, INC.;
TYSON POULTRY, INC.; and WAYNE
FARMS, LLC.

               Defendants.
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                                          COMPLAINT


       1.      Plaintiff Compass Group USA, Inc., is a Delaware corporation with its principal

place of business in Charlotte, North Carolina.

       2.      Compass Group USA, Inc. brings this action on behalf of itself and its subsidiaries,

affiliates and divisions, including but not limited to Foodbuy, LLC (collectively, “Compass Group”

or “Plaintiff”), as an assignee from Sysco Corporation, and its affiliates, subsidiaries, and

predecessors (collectively referred to as “Sysco”), with respect to Sysco’s direct purchases of

Broilers from Defendants made for Compass Group. Based on those direct purchases, Sysco has

assigned its federal antitrust claims to Compass Group.

       3.      Compass Group brings this action under the federal antitrust laws against the

Defendants identified below and incorporates by reference the factual allegations and reservations

of rights contained in the Direct Action Plaintiffs’ Amended Consolidated Complaint and Demand

for Jury Trial, filed in In re Broiler Antitrust Litigation, Civil Action No. 1:16-cv-08637 (ECF

4243; ECF 4244).

       4.      Compass Group joins Section II of the Direct Action Plaintiffs’ Amended

Consolidated Complaint and Demand for Jury Trial, adding the following to specify Compass

Group’s causes of action and the Defendants in the Compass Group action:
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      Plaintiff           Named                     Named                        Causes of Action
       Name             Defendants1             Co-Conspirators
     Compass        Agri Stats; Case;         Fieldale; Amick;           Count 1 (Sherman Act Claim
     Group          Claxton; Foster           George’s; Peco;            for all Anticompetitive
     USA,           Farms; Harrison;          Allen Harim                Conduct); Count II (Sherman
     Inc.           House of Raeford;                                    Act Claim for Output
                    Keystone Foods;                                      Restriction, Pled in the
                    Koch; Mar-Jac;                                       Alternative to Count 1);
                    Mountaire; O.K.                                      Count III (Sherman Act Claim
                    Foods; Perdue;                                       for GA Dock Manipulation,
                    Pilgrim’s Pride;                                     Pled in the Alternative to
                    Sanderson;                                           Count I)
                    Simmons; Tyson;
                    Wayne


        WHEREFORE, Plaintiff respectfully requests that the Court:

        A.        Enter joint and several judgments against all Defendants in favor of Plaintiff;

        B.        Award Plaintiff treble damages, of an amount to be determined at trial, to the
                  maximum extent allowed under the federal antitrust laws;

        C.        Award Plaintiff post-judgment interest as provided by law, with such interest to be
                  awarded at the highest legal rate;

        D.        Award Plaintiff its attorneys’ fees, litigation expenses, and costs, as provided by
                  law;

        E.        Grant Plaintiff such other and further relief to which Plaintiff is entitled.

                                              JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury on all of

its claims and issues so triable.




1
  The Defendants named in this Complaint include the entire Defendant family of each Defendant in this table,
identified in Section IV.B of ECF 4243/ECF 4244.
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 Date: January 21, 2022         Respectfully submitted,


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